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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)

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     Counsel for Burlington Coat Factory Warehouse
     Corporation

     In re:
                                                                      Chapter: 11
     BED BATH & BEYOND INC., et al.,
                                                                      Case No. 23-13359 (VFP)

                             Debtor.1                                 (Jointly Administered)



 1
   The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the website
 of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor Bed Bath
 & Beyond Inc.’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is 650 Liberty
 Avenue, Union, New Jersey 07083.

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        BURLINGTON STORES, INC.’S OMNIBUS REPLY TO OBJECTIONS TO
       BURLINGTON’S ASSIGNMENT AND ASSUMPTION OF LEASES AND ANY
                    CURE AMOUNTS RELATED THERETO

 TO:    THE HONORABLE JUDGE VINCENT F. PAPALIA,
        UNITED STATES BANKRUPTCY JUDGE:

        Burlington Coat Factory Warehouse Corporation (“Burlington”) states as follows (this

 “Reply”) in response to the objections and supplemental objections filed by DPEG Fountains, LP

 (“DPEG”) regarding Store No. 126 (“Stafford”) [Docket Nos. 1340, 1344, 1933]; and Daly City

 Serramonte Center, LLC (“Daly City”) regarding Store No. 3108 (“Serramonte”) [Docket Nos.

 1328, 1929]] (collectively, the “Objections”).

                                       Preliminary Statement

        1.      Burlington—a nationally recognized off-price retailer and Fortune 500 company is

 the successful bidder for forty-four (44) Bed, Bath, and Beyond and buybuy BABY (collectively,

 BBB”) Lease Assets. Burlington’s bid of $12 million dollars was the single largest bid and

 comprises nearly a third of the value the above-captioned debtors and debtors in possession

 (collectively, the “Debtors”) garnered as a result of their efforts to monetize certain unexpired

 leases of nonresidential real property, including any ancillary agreements thereto (collectively, the

 “Leases”), or designation rights related thereto (collectively, the “Lease Assets”) through a robust

 auction process (“Auction”). Burlington’s bid was a package or “block” bid for forty-four (44) of

 the Debtors’ Leases. The aggregate of all individual bids for the Leases was nearly $5 million less

 than Burlington’s $12 million bid. The Debtors’ estates depend on the substantial value generated

 from the Lease Asset sale process.




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         2.       Following a consensual hearing, on July 28, 2023, this Court approved a pair of

 Orders selling forty-one (41) of the Leases to Burlington.2 The Debtors withdrew one Lease from

 the bid package, resulting in an adjustment to the purchase price.

         3.       Landlords for the two remaining Leases (collectively, the “Landlords”), eager to

 recapture their under-market leases, have objected to Burlington’s assumption of the Stafford and

 Daly City Leases.        If sustained, the Objections will diminish the ultimate recovery to all

 stakeholders, while resulting in a windfall to the Landlords. Through the Objections, the Landlords

 ask this Court to strain the meaning of Bankruptcy Code sections 365(b)(3)(C) and (D) to the

 illogical conclusion that the Bankruptcy Code saddles the Leases with later-in-time restrictions

 between Landlords and third parties, diminishing the value of the Leases in myriad ways. The

 Landlords’ proposed interpretation turns a blind eye to the fundamental purpose of the Bankruptcy

 Code and basic contract and commercial real estate law on its head.

         4.       For these reasons, and as more fully set forth herein, and within the Debtors’

 Omnibus Reply in Support of Debtors’ Motion for Entry of an Order (I) Establishing Bidding

 Procedures, (II) Approving the Sale of Certain Real Property and Leases, and (III) Granting

 Related Relief (the “Debtors’ Omnibus Reply”) [Docket No. ___], which Burlington adopts and

 incorporates to the extent not inconsistent with the positions taken herein, Burlington requests that

 this Court overrule the Objections and approve the assumption and assignment of the Leases.




 2
   The pair of orders authorizing the sale to Burlington are the Order (I) Authorizing the sale of Certain Unexpired
 Leases Free and Clear of Liens, Claims, Encumbrances, and Other Interests; (II) Approving Assumption and
 Assignment of Certain Unexpired Leases; and (III) Granting Related Relief [Docket No. 1746] and the Order
 (I) Authorizing the sale of Certain Unexpired Leases Free and Clear of Liens, Claims, Encumbrances, and Other
 Interests; (II) Approving Assumption and Assignment of Certain Unexpired Leases; and (III) Granting Related Relief
 [Docket No. 1747].

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                                                REPLY

 I.       Use and Exclusivity Restrictions Not Contained in the Leases, or Related to Some
          Unarticulated and Undefined Standard of Tenant Mix Not Specified in the Leases,
          are Unenforceable.

          5.     The central question is whether Bankruptcy Code sections 365(b)(3)(C) and (D)

 require the Court to consider exclusivity and tenant mix provisions not contained in the Leases at

 issue.    The short answer is no—the exclusivity and tenant mix provisions that sections

 365(b)(3)(C) and (D) protect must be rooted in the terms of the Leases. Sections 365(b)(3)(C) and

 (D) are designed to further the purposes of the Bankruptcy Code and the Court should interpret

 them in harmony with section 365(f). See United Hospital Center, Inc. v. Richardson, 757 F.2d

 1445, 1451 (4th Cir. 1985) (explaining that it is the court’s task to “‘interpret the words of the [the

 statute] in light of the purposes of [the Legislature] sought to serve,’ and to arrive at a construction

 which is ‘most harmonious’ with the statutory scheme and general purpose….Should there be

 come inconsistency between the two statutes or sections of a single statute, courts, in construing

 the statues, so far as it is possible, should seek to steer a ‘middle course that vitiates neither

 provision but implements to the fullest extent possible the directives of each.’”) (internal citations

 omitted).

          6.     Bankruptcy     Code     section   365(f)    renders    contractual   “anti-assignment

 clauses…unenforceable in bankruptcy.” 11 U.S.C. § 365(f). The intention of section 365(f) is

 that “subject only to certain statutory safeguards, the value of a debtor’s leases should go to the

 debtor’s creditors, and that leases can be sold to achieve that end—with or without landlord

 consent.” In re Ames Dep‘t Stores. Inc., 348 B.R. 91, 98 (Bankr. S.D.N.Y. 2006).

          7.     Here, the Objections under sections 365(b)(3)(C) and (D) not only render section

 365(f)(3)’s waiver of anti-assignment provisions meaningless, but also seek to impose new and

 more stringent anti-assignment provisions than those contained in the actual Leases. In other


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 words, the Landlords argue that section 365(f) (designed to waive anti-assignments provisions)

 should be ignored, and sections 365(b)(3)(C) and (D) should be interpreted to impose new greater

 and more stringent anti-assignment rights applicable solely in the bankruptcy context. The

 Landlords’ proposed interpretation turns sections 365(b)(3) (C) and (D) into a sword rather than a

 shield—a sword that bestows upon the Landlords a commercially competitive advantage that

 allows them to actually improve their position to the detriment of the Debtors’ estates. Indeed, in

 many cases, the same Landlords that oppose Burlington’s assumption of the Leases have either (a)

 negotiated to bring Burlington in at a higher rate post-rejection, (b) negotiated with similar off-

 price retailers for the same space, and/or (c) currently lease to Burlington in other shopping centers

 with similar tenant combinations.

        8.      The Landlords’ argument has been rejected by courts in other jurisdictions. The

 Fourth Circuit Court of Appeals has explained that the purpose of section 365(b)(3)(C) “is to

 preserve the landlord’s bargained-for protections with respect to premises use and other matters

 that are spelled out in the lease with the debtor-tenant.” Trak Auto Corp. v. West Town Center

 LLC (In re Trak Auto Corp.), 367 F.3d 237, 244 (4th Cir. 2004) (emphasis added) (citing In re

 Ames Dep’t Stores, Inc. 121 B.R. 160, 165 n.4 (Bankr. S.D.N.Y. 1990)). This provision is

 “intended to protect the landlord’s economic expectations rather than those of the other tenants.”

 In re Martin Paint Stores, 199 B.R. 258, 262 (Bankr. S.D.N.Y. 1996). “Its intent is not to bestow

 upon landlords new contractual rights but rather to preserve contract provisions at risk of being

 stricken as de facto anti-assignment clauses under the provisions of 11 U.S.C § 365(f).” In re Toys

 “R” Us, Inc., 587 B.R. 304, 309–310 (Bankr. E.D. Va. 2018) (quoting Trak Auto Corp. v. West

 Town Center LLC (In re Trak Auto Corp.), 367 F.3d 237, 244 (4th Cir. 2004)).

        9.      The Bankruptcy Court for the Eastern District of Virginia’s opinion in Toys “R”

 Us is squarely on point and highly instructive. Toys, 587 B.R. at 309–310. In Toys (and here),

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 nothing in the four corners of the lease between the landlord and Toys prohibited assignment to

 Burlington. Id. at 308–309. The landlord nevertheless sought to block Toys’ proposed assignment

 of the lease to Burlington on the basis of exclusive use provisions the landlord had granted to a

 subsequent tenant under that tenant’s lease. Id. at 307. The Toys court rejected that interpretation

 because the lease in question contained no provision requiring compliance with the exclusive use

 provision. Id. at 310–311. The Toys court alternatively found that the assignment would not

 breach the exclusivity provision because the court’s order would render the landlord “without the

 capacity to prevent Burlington’s intended use,” noting that the exclusivity provision only applied

 if the landlord “ha[d] the capacity” to prevent a tenant from selling off-price apparel. Id. at 310.

         10.     The Toys court’s interpretation comports with the fundamental contractual and

 commercial leasing principle that outside of bankruptcy, the Debtors would have been able to

 assign the Leases to Burlington pursuant to their terms, subject only to any later-in-time or future

 exclusive or use restrictions upon which BBB had explicitly agreed to be bound. The Debtors

 should be permitted to do the same here, particularly under the circumstances in which the

 Burlington bid is in the best interest of these estates.

         11.     For these reasons and the reasons set forth in the Debtors’ Omnibus Reply, the

 Objections should be overruled.

 II.     Adequate Assurance and Other Objections.

         12.     As is evident from Burlington’s consolidated financial statements, available at

 https://www.burlingtoninvestors.com, Burlington has the financial wherewithal to meet all future

 obligations under the Leases. In fact, the principals involved with each respective Landlord are

 currently parties to one or more lease with Burlington or an affiliate.




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Dated: August 25, 2023                      WOMBLE BOND DICKINSON (US) LLP

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